         Case 4:97-cr-40009-NMG Document 1520 Filed 10/17/12 Page 1 of 2


                        UNITED STATES DISTRICT COURT
                          DISTRICT OF MASSACHUSETTS

VINCENT MICHAEL MARINO,                )
               Petitioner,             )
                                       )
                  v.                   )     C.R. No. 97-40009-NMG-10
                                       )
UNITED STATES,                         )
                  Respondent.          )

                          ORDER ON PENDING MOTIONS

        Now before the Court are Vincent Michael Marino’s request for

a status report (Docket No. 1469) as well as his request for

permission to file an appeal from the 4/28/11 Electronic Order

denying motion numbers 1363, 1365, 1369 and 1370.           See Docket Nos.

1396, 1409, 1469.

        The Court’s records indicate that in Marino’s Section 2255

action, he was permanently enjoined from filing any papers, except

for a notice of appeal, without first obtaining the prior written

approval of a judge of this Court.         See Marino v. United States,

C.A. No. 03-40143-NMG (Docket No. 51).

        Because Marino seeks to appeal an order entered in the instant

criminal action, and not the subsequent Section 2255 action, the

Court will permit the filing of the Notice of Appeal (Docket No.

1396).    However, the Court’s records indicate that Marino’s second

motion, assigned Docket No. 1409, is duplicative of Docket No.

1396.    This second motion, see Docket No. 1409, was initially filed

with the United States Court of Appeals for the First Circuit and

is a duplicate of the motion previously filed and assigned Docket

No. 1396.     See Docket No. 1409-1 (letter from First Circuit Clerk

of Court).     This second motion will be construed as a misdirected
      Case 4:97-cr-40009-NMG Document 1520 Filed 10/17/12 Page 2 of 2


notice of appeal and denied.

     Finally, Marino filed an eight-page document seeking a status

report.   See Docket No. 1469.    Because Marino is permitted to

appeal the Court’s 4/28/11 Electronic Order, there is no need for a

status report and such request will be denied.

     Accordingly, it is hereby

     ORDERED, that the request (Docket No. 1396) to file a notice

of appeal is allowed and the clerk shall transmit the Notice of

Appeal (Docket No. 1396) to the United States Court of Appeals for

the First Circuit; and it is further

     ORDERED, that the request (Docket No. 1409) to file a second

notice of appeal is construed as a misdirected notice of appeal and

is denied; and it is further

     ORDERED, that the request (Docket No. 1469) for a status

report is denied.

SO ORDERED.

 October 17, 2012                /s Nathaniel M. Gorton
DATE                            NATHANIEL M. GORTON
                                UNITED STATES DISTRICT JUDGE




                                    2
